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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
_____________________________________

UNITED STATES OF AMERICA
                  Plaintiff,                  Case No. 1:20-cr-00183-RJJ

                                              Hon. Robert J. Jonker
                                              Chief United States District Judge
v.



BARRY GORDON CROFT, JR.,
                        Defendant.
________________________________________________________________________/

                          MR. CROFT’S TRIAL BRIEF

      Following the Final Pretrial Conference, the Court invited the parties to

supply briefing regarding the government request to permit witnesses to testify

under false names as well as “any evidentiary, logistical, or procedural issues”. ECF

No. 486, PageID.3652.

      I.     GOVERNMENT’S REQUEST TO ALLOW WITNESSES TO
             TESTIFY UNDER FALSE NAMES

      This case involves a staggering use of confidential human sources and

undercover agents. Known to counsel are as many as a dozen government agents

who were involved in the case. Counsel is aware of two specific undercover FBI

agents: “Red” and “Mark” who had contact with the defendants. “Red” posed as a

person who would supply explosives. He is not merely a passive player in the

investigation – he generated promotional videos showing his purported abilities

which were pushed to the charged defendants in an attempt to interest them in



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purchasing his explosives. When they didn’t initially bite, he offered that “IOUs”

were an acceptable form of payment.




Figure 1 - Screen capture from promotional “sales video” demonstrating ability to
develop and employ explosives which was produced by undercover FBI agent "Red"
and distributed to the defendants.

      The government has not disclosed the true names of these agents to the

defendants. The government now proposes that “Red” and “Mark” be permitted to

testify under false names. Trial Brief, ECF No. 469, PageID.3510.

   A. ALLOWING FBI AGENTS TO TESTIFY USING FALSE NAMES
      VIOLATES MR. CROFT’S CONSTITUTIONAL RIGHTS.

      The Constitution guarantees the right to a fair trial, and the presumption of

innocence is central to this right. Holbrook v. Flynn, 475 U.S. 560, 567; 106 S. Ct.

1340; 89 L. Ed. 2d 525 (1986). “[O]ne accused of a crime is entitled to have his guilt

or innocence determined solely on the basis of the evidence introduced at trial, and




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not on grounds of official suspicion, indictment, continued custody, or other

circumstances not adduced as proof at trial.” Taylor v. Kentucky, 436 U.S. 478, 485;

98 S. Ct. 1930; 56 L. Ed. 2d 468 (1978). Allowing government employees to use

pseudonyms is inherently prejudicial and may improperly influence the jury.

Among other inferences a jury may draw from the use of false names is that the

defendants or their associates are so dangerous as to cause professional FBI agents

to be afraid of the defendants.

      A primary interest secured by the Confrontation Clause “is the right of cross-

examination.” Douglas v. Alabama, 380 U.S. 415, 418; 85 S. Ct. 1074; 13 L. Ed. 2d

934 (1965). The United States Supreme Court has emphasized that “[t]here are few

subjects, perhaps, upon which this Court and other courts have been more nearly

unanimous than in their expressions of belief that the right of confrontation and

cross examination is an essential and fundamental requirement for the kind of fair

trial which is this country’s constitutional goal.” Pointer v. Texas, 380 U.S. 400, 405;

85 S. Ct. 1065; 13 L. Ed. 2d 923 (1965). “‘The opponent demands confrontation, not

for the idle purpose of gazing upon the witness, or of being gazed upon by him, but

for the purpose of cross examination, which cannot be had except by the direct and

personal putting of questions and obtaining immediate answers.’” Davis v. Alaska,

415 U.S. 308, 316; 94 S. Ct. 1105; 39 L. Ed. 2d 347 (1974) (quoting 5 J. Wigmore,

Evidence § 1395, p. 123 (3d ed. 1940)). There is a violation of the Confrontation

Clause when a defendant is prohibited from engaging in “otherwise appropriate

cross-examination designed to show a prototypical form of bias on the part of the




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witness,” that would expose the jurors to facts from which they could appropriately

draw inferences relating to the reliability of the witness. Delaware v. Van Arsdall,

475 U.S. 673, 680; 106 S. Ct. 1431; 89 L. Ed. 2d 674 (1986).

      The United States Supreme Court has made clear that identifying

information provides the most fundamental basis for effective cross-examination:

             In the present case there was not, to be sure, a complete
             denial of all right of cross-examination. But the petitioner
             was denied the right to ask the principal prosecution
             witness either his name or where he lived, although the
             witness admitted that the name he had first given was
             false. Yet when the credibility of a witness is in issue, the
             very starting point in “exposing falsehood and bringing out
             the truth” through cross-examination must necessarily be
             to ask the witness who he is and where he lives. The
             witness’ name and address open countless avenues of in-
             court examination and out-of-court investigation. To forbid
             this most rudimentary inquiry at the threshold is
             effectively to emasculate the right of cross-examination
             itself. [Smith v. Illinois, 390 U.S. 129, 131; 88 S.
             Ct. 748; 19 L. Ed. 2d 956 (1968).]

      Testifying under a false name would not allow for effective cross examination

and would deny Mr. Croft his right to confrontation. Despite the government

alleging that it will provide counsel with any material that may go to credibility,

this is not enough. Gov’t Trial Brief, ECF No. 469, PageID.3510. Counsel has a duty

to independently investigate, and counsel’s investigation may return different

results than the information “required by Rule 16, Brady, Giglio, and the Jencks

Act” which the government has offered to provide. Id.

      At bottom, the Defense should not be restricted to discovering information

which the Government has determined, in its sole judgment, is required to be




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disclosed to the defense. To the contrary, the defense is entitled to conduct its own

investigation and uncover any useful evidence without regard to whether it rises to

the level of Brady or Giglio.

      This necessary information is critical for in-court examination and out-of-

court investigation. Without the real names of the witnesses, counsel cannot

research, for instance, prior testimony from these witnesses that is fundamental in

preparing for cross-examination. The credibility and reliability of these government

employees is definitely at issue when these employees and other government agents

sought out Mr. Croft, plied him with drugs and alcohol, organized and funded the

events, and manufactured evidence which they claim indicates Mr. Croft committed

the crime.

      This issue is certainly of constitutional significance when Mr. Croft has the

constitutional right to a fair trial, including confronting witnesses, and knowing the

government employees’ identifying information is fundamental to this.

      “Red” and “Mark” interacted with Mr. Croft and others under false names.

Using false names in undercover investigations is ordinary practice. Without any

explanation, the government asserts that disclosing the true names of the agents

will somehow “compromis[e] those investigations or endanger[]their safety”. Gov’t

Trial Brief, ECF No. 469, PageID.3510.

      Almost certainly, the agents are not using their true names in the other

investigations and so disclosing their true names will not impact the other

investigations. Photography is already prohibited in the courtroom, so the




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government need not worry that the undercover agents’ likenesses will be

published. See LGenR 4.1(c)(i). To the extent that the government has concerns

about the agents’ likenesses being captured entering or exiting the building, it can

easily mitigate that concern by using a private entrance or wearing a disguise while

entering the building.

      In support of its request, the government cites to United States v. Zelaya, 336

F. App'x 355 (4th Cir. 2009) where the defendants were charged with, among other

things, conspiracy to commit murder in aid of racketeering. Id. at 356. In contrast

to the instant defendants, the defendants in Zelaya, were members of MS-13 – “a

national and international criminal organization, consisting of approximately

10,000 members, that regularly conducts gang activities in at least 25 states and

the District of Columbia, as well as Mexico, Honduras, and El Salvador.” Id.

Members of MS-13 frequently engage in criminal activity, including murders,

assaults, and kidnappings, as committing acts of violence is required to maintain

membership. Id.

      The Court in Zelaya allowed two individuals from El Salvador to testify

under pseudonyms. Id. at 357. Before permitting the pseudonymous testimony, the

District Court conducted sealed ex parte and in camera hearings where it examined

the witnesses and concluded “that the threat to these witnesses and their families,

should their true identities be provided, was actual and not a result of conjecture.”

Id. at 358 (cleaned up).




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         Further, in Zelaya, the government had provided pretrial notice regarding

the nature of the pseudonymous testimony and a transcript of their previous sworn

testimony on the same subject matter presented in the case. Id.

         Here, the government has not undertaken to make a showing that there is an

actual risk of harm to the agents or their families should they testify in their true

name. The government has not offered prior testimony of the agents. The

government did not make its request for pseudonymous testimony until the eve of

trial.

         All the government offers to support its request is that some people to whom

Mr. Croft is loosely connected said on a YouTube video that the host (not Mr. Croft)

had “effectively ruined” Agent Chambers and Agent Impola by exposing them. Gov’t

Trial Brief, ECF No. 469, PageID.3511. In context, it seems that this YouTube

personality was taking credit for the public reporting relating to Mr. Chambers’

outside business interests in Exeintel and the perjury complaint lodged against Mr.

Impola. Of note, the government doesn’t point to any independent disclosures of

confidential information which has put Mr. Impola nor Mr. Chambers at risk, nor

do they tie this claim to Mr. Croft beyond pure conjecture.

         The other case cited by the government is a district court opinion which

merely notes that a witness was permitted to testify under a pseudonym at a

suppression hearing. United States v. Abu Ali, 395 F. Supp. 2d 338, 344 (E.D. Va.

2005). This case is inapposite because “the right to confrontation is a trial right”

and would not trigger a constitutional concern at a suppression hearing.




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Pennsylvania v. Ritchie, 480 U.S. 39, 52, 107 S. Ct. 989, 999, 94 L. Ed. 2d 40 (1987)

(emphasis in original).

      Permitting the agents to testify under false names erodes the presumption of

innocence. Such a measure clearly communicates to the jury that the defendants

are so dangerous that even experienced FBI agents have a judicially recognized and

justified reason to fear them. This is particularly concerning in a case where the

primary allegation is that the defendants targeted a government employee.

      Counsel is also constitutionally required to conduct a reasonable

investigation. See, e.g., Bryant v. Scott, 28 F.3d 1411, 1419 (5th Cir. 1994). Counsel

cannot do so if witnesses are allowed to testify under false names because the

pseudonym renders counsel unable to conduct even the most basic investigation.

      Because the government has failed to make a sufficient showing that

requiring the agents to testify in their true names would pose an actual and serious

risk of harm to the agents and because the Sixth Amendment secures the right to

effective cross examination aimed at “exposing falsehood and bringing out the

truth” which “must necessarily [start by] ask[ing] the witness who he is and where

he lives”, the Court should deny the request to testify under a pseudonym. Smith v.

Illinois, 390 U.S. 129, 131; 88 S. Ct. 748; 19 L. Ed. 2d 956 (1968).

   B. POTENTIAL BRUTON ISSUE

      The Court ordered the parties to mark exhibits before the final pretrial.

Order Setting Trial, ECF No. 136, PageID.720. In denying Mr. Croft’s motion to

compel the government to produce an early identification of exhibits and witnesses,




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the Court noted the government’s “obligation to comply with this Court’s Order

requiring disclosure and marking of trial exhibits by the time of the Final Pretrial

Conference.” Order, ECF No. 310 PageID.1844. Through its exhibit coordinator, the

defendants produced their exhibits on Thursday, February 17, 2022. The

government failed to produce their exhibits before the final pretrial conference, so

this issue was unable to be raised at the conference.

      In reviewing the government’s exhibits, counsel has discovered that the

government has disclosed the entirety of the post-arrest interrogations of Mr. Fox,

Mr. Harris, and Mr. Caserta as trial exhibits. In June 2021, undersigned counsel

reached out to Mr. Kessler seeking an identification of which portions of the post-

arrest interrogations of the defendants the government intended to use so that the

parties could iron out any Bruton issues. At the time, the government stated that

“Not yet, but I’m glad you brought it up – I agree it’d be better to iron out Bruton

issues early. We’ll get started looking through the statements, and seeing what can

be redacted to avoid impermissibly implicating your client. Then we can touch base

and see if we can agree on the number & scope of the redactions.”

      After receiving the full interrogations in the exhibit exchange, counsel

reached out to Mr. Kessler again. On February 21, 2022, Mr. Kessler confirmed that

he does not intend to introduce the entirety of the interrogations but has declined to

identify which parts he intends to introduce and has declined to state when he will

identify which parts he intends to introduce.




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      The point of requiring an exchange of exhibits is to facilitate an orderly trial.

Without knowing which portions of the audio the government intends to introduce,

counsel expects there will be a protracted hearsay and Bruton dispute mid-trial

while the jury is waiting.

      The introduction of the post-arrest interrogations of Mr. Croft’s co-defendants

at trial would deprive Mr. Croft of his constitutional right under the Confrontation

Clause. See, Crawford v. Washington, 541 U.S. 36 (2004). In Crawford, the Supreme

Court held that the Confrontation Clause bars the admission of out-of-court

statements if the defendant did not have an opportunity to cross-examine the

witness. Crawford, 541 U.S. at 53-54. The Sixth Circuit later clarified Crawford and

held that “[i]f a statement is not testimonial, Confrontation Clause principles do not

apply.” United States v. Suggs, 531 F. App’x 609, 617 (6th Cir. 2013). See, also

United States v. Cromer, 389 F.3d 662, 675 (6th Cir. 2004) (testimonial means that

a “reasonable person in the declarant’s position would anticipate his statement

being used against the accused in investigating and prosecuting the crime.”).

      There is hardly any class of statement more commonly understood to be

testimonial than a police-station interrogation of a co-defendant following an arrest.

      In Bruton v. United States, 391 U.S. 123 (1968), a witness testified that

Bruton’s codefendant, Evans, had confessed that he and Bruton had committed a

crime. Id. at 124. The Supreme Court held that the introduction of codefendant

Evans’ confession violated Bruton’s Sixth Amendment right to cross-examine

witnesses. Id. at 126. Moreover, the admission of a non-testifying codefendant’s




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confession implicating another defendant at a joint trial was a violation of that

defendant’s rights under the Confrontation Clause. Id. at 128. Codefendant Evans’

confession in Bruton had been found not to be admissible against Evans or Bruton

in a joint trial. Id. at 124 n.1. The Court remarked that Evans’ confession which

implicated Bruton was “devasting to the defendant” in a joint trial. Id. at 136.

      In Richardson v. Marsh, 481 U.S. 200 (1987), the defendant and codefendant

were tried together, and the codefendant’s confession was redacted to omit any

reference to the nonconfessing defendant. Richardson modified Bruton and held

that the confrontation clause was not violated by the admission of a non-testifying

codefendant’s confession if:

      • a limiting instruction is given to the jury, and

      • the redaction eliminated any reference to the existence of the nonconfessing

codefendant. Id. at 208.

      In Gray v. Maryland, 523 U.S. 185 (1998), the Court addressed the question

of whether the confession of one defendant – whether or not it has been redacted to

remove reference to the nonconfessing defendant – can be used at a joint trial

involving both defendants. In Bruton, supra the Court simply held that a confession

should not be used against his nonconfessing codefendant at a joint trial. However,

Richardson, supra later created an exception and held that a defendant’s confession

could be used so as long as there is no reference to the other nonconfessing

defendant. Gray, supra muddied the waters by holding that if you partially redact a

defendant’s confession by removing the name or any reference to the other




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nonconfessing defendant, that was just as damaging to the defendant as not

redacting it at all because a reasonable juror could conclude that the redacted

reference was the other defendant on trial The redacted confession in Gray (i.e.,

deleting the defendant’s name or adding a blank space) continued to refer directly to

the existence of the nonconfessing defendant. Gray, supra p. 192.

      The Sixth Circuit has interpreted these type of cases as “the introduction of a

declarant- codefendant’s self-incriminating, extra-judicial statement, in a joint trial,

where the defendant’s name is redacted and a neutral term is substituted.” United

States v. Vasilakos, 508 F.3d 401, 408 (6th Cir. 2007). Vasilakos, reflects that such

permissible substitutions for a codefendant’s name includes phrases like “the

person” or “another person.” Id. This type of redaction does not raise Confrontation

Clause concerns so long as the redacted statement does not “ineluctably implicate”

the non-declarant co-defendant. Id.

      The Sixth Circuit has remarked that the use of neutral pronouns and the

passive voice eliminates the risk that the jury will believe that the confessing

codefendant was referring to the nonconfessing defendant. See Vasilakos, 508 F.3d

at 408 (“Because the government was prosecuting multiple defendants for

participation in an alleged conspiracy . . ., the declarant- codefendants’ statements

did not ineluctably implicate [them].”); See also United States v. Mendez, 303 F.

App’x 323, 327 (6th Cir. 2008) (no Bruton issue was found where the codefendant’s

statement referenced “the five people” involved in the crime, and there were five

defendants on trial).




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       Because the government has refused to identify which excerpts it intends to

introduce at trial from the over 8 hours of interrogation they have disclosed despite

stating that it would not introduce the entire 8 hours, it is impossible to efficiently

address the potential Bruton issue.

       By way of example only, during his interrogation by former FBI Agent

Richard Trask, Mr. Fox responded in the apparent affirmative to Trask’s statement

“OK, and I'm familiar with Barry Croft as well. So, and I know. Th- this is where I

say we know what's goin' on, OK? So, I know Barry Croft kind of had this plan

where he suggested that, um, you know we kind of take over governments, or we,

you know, kidnap some uh, Governors and whatnot. OK? So, I know he had this

plan, I know it was discussed there. I know you were there, alright? Fair enough?”

Mr. Fox replied “mmhmm”.

       To the extent that this is Mr. Trask’s statement, it is hearsay. To the extent

that Mr. Fox adopted the statement when he said, “mmhmm”, the introduction

against Mr. Croft violates his right to confrontation.

       The Court should compel the government to comply with its order to mark

and exchange exhibits in advance of trial so that the parties can engage in a

meaningful discussion of the appropriate Bruton remedy and facilitate an orderly

and efficient trial.

   C. BRADY VIOLATION RELATING TO CHS FILES AND CHS NON-
      DISCLOSURE AGREEMENT.




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       The government has failed to produce the CHS files. In June 2021, counsel

requested a broad class of information relating to the confidential human sources.

The government has largely not produced responsive documents.

       In reviewing the many terabytes of discovery produced, it was discovered that

during a December 2020 interrogation of CHS Steve, FBI agents had CHS Steve

sign a non-disclosure agreement which, in the agent’s words, “basically says, don't

tell anybody, right?” The agent further explained “if we really reveal information

that is for national security purposes, undercovers, prosecution strategy, like you're

locked in. Don't tell people.”

       In context, it is believed that the FBI agents had CHS Steve sign an

agreement not to discuss his involvement or knowledge with the FBI with any

defense attorneys. In the criminal justice system, fact witnesses do not belong to one

side or the other. Nonetheless, true to the FBI’s command, CHS Steve has not

spoken to the defense attorneys. This is particularly concerning because at the time

the FBI had Mr. Robeson agree to remain quiet, they knew he had committed

federal and state crimes during his cooperation in this case 1. The FBI had to know

that the information they were asking CHS Steve to conceal was material to the

defense. They knew he had broken their rules during his cooperation and had

broken the law while cooperating. The United States Attorney has characterized




1 Contemporaneous with the signing of the non-disclosure agreement during the
interrogation, the FBI was executing a search warrant at CHS Steve’s home which
led to the charges for which he was prosecuted in United States v Robeson, 21-cr-24
(W.D. Wis.).


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Mr. Robeson as a “double agent” who was “often working against the interests of the

government.” ECF No. 396, PageID.2729.

      Despite requests by the defense, the government has failed to disclose the

non-disclosure agreement, the CHS admonitions, and the payment records to CHS

Steve or the other CHSs involved in this case.

      This Court has discretion to order disclosure of Brady material prior to trial

in order to avoid a constitutional violation. See United States v. Hart, 760 F.Supp.

653, 655 (E.D.Mich.1991) (“Although ... pretrial disclosure of Brady material is

not required, it is clear that a district court has general authority to order

pretrial disclosure of Brady material to ensure the effective administration of the

criminal justice system.”) (internal quotation marks omitted); United States v.

Jones, No. 10–20568, 2011 WL 551145 at *2 (E.D.Mich. Feb. 9, 2011).

      The Court should order the government to supply the complete FBI CHS files

relating to each CHS involved in this investigation, including any agreements to

conceal evidence from the defense, and should instruct the jury as follows:

                    In this case, the government failed to turn over
             promptly, as required by law, a piece of evidence favorable
             to the defense, namely evidence that FBI agents entered
             into an agreement with CHS Steve to conceal favorable
             evidence from the defense, of which the defense learned
             only on [date of disclosure], when the Court ordered the
             Government to produce the non-disclosure agreement.
             Although this delay does not necessarily bear on the guilt
             or innocence of the defendant, you may, if you think it
             appropriate in light of all the evidence, take into account
             the possible harm to the defense caused by this delay when
             evaluating whether the government has proven the
             defendant’s guilt beyond a reasonable doubt.




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      See Elizabeth Napier Dewar, A FAIR TRIAL REMEDY FOR BRADY VIOLATIONS,

115 Yale L.J. 1450 (2006).

      Because the government is in possession of Brady material which it has not

disclosed and because a pretrial disclosure will avoid a constitutional problem, the

Court should order the government to immediately produce all Brady material and

should instruct the jury as requested above.


                                       Respectfully Submitted,


Dated: February 22, 2022               /s/ Joshua A. Blanchard
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